>G&75B8 -- #FRc' 10(2020$              Case 3:22-cv-00348-JSC Document 1-4 Filed 01/18/22 Page 1 of 1
                                                                                  CIVIL COVER SHEET
HUR >G&75B8 -- PVcVY P\cR_ `URRa N[Q aUR V[S\_ZNaV\[ P\[aNV[RQ UR_RV[ [RVaUR_ _R]YNPR [\_ `b]]YRZR[a aUR SVYV[T N[Q `R_cVPR \S ]YRNQV[T` \_ \aUR_ ]N]R_` N` _R^bV_RQ Of YNd%
RePR]a N` ]_\cVQRQ Of Y\PNY _bYR` \S P\b_a' HUV` S\_Z% N]]_\cRQ V[ Va` \_VTV[NY S\_Z Of aUR >bQVPVNY 7\[SR_R[PR \S aUR I[VaRQ GaNaR` V[ GR]aRZOR_ *20-% V` _R^bV_RQ S\_ aUR 7YR_X \S
7\b_a a\ V[VaVNaR aUR PVcVY Q\PXRa `URRa' (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS
  Michele Obrien                                                                                           Amazon.com, Inc.
   (b) 7\b[af \S FR`VQR[PR \S :V_`a @V`aRQ DYNV[aVSS             San Bernardino                               7\b[af \S FR`VQR[PR \S :V_`a @V`aRQ 8RSR[QN[a                        King
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              BCH93         =B @5B8 7CB89AB5H=CB 75G9G% IG9 H<9 @C75H=CB C:
                                                                                                                            H<9 HF57H C: @5B8 =BJC@J98'
   (c)      5aa\_[Rf` (Firm Name, Address, and Telephone Number)                                              5aa\_[Rf` (If Known)
 Eric Honig, Law Office of Eric Honig, P.O. Box 10327, Marina Del Rey, CA 90295, 310.699.8051; Peter       Brian D. Berry, SBN 229893, Morgan, Lewis & Bockius, LLP, One Market, Spear Street Tower, San Francisco, CA 94105 -
 Hart, Law Office of Peter M. Hart, 12121 Wilshire Blvd. St. 525, Los Angeles, CA 90025, 310.478.5789      Tel. 415.442.1000; email: brian.berry@morganlewis.com


II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                             and One Box for Defendant)
                                                                                                                                            PTF         DEF                                        PTF                 DEF
      *    I'G' ;\cR_[ZR[a DYNV[aVSS       ,    :RQR_NY EbR`aV\[                                    7VaVgR[ \S HUV` GaNaR                     *          *        =[P\_]\_NaRQ or D_V[PV]NY DYNPR      -                 -
                                                (U.S. Government Not a Party)
                                                                                                                                                                  \S 6b`V[R`` =[ HUV` GaNaR
                                                                                                    7VaVgR[ \S 5[\aUR_ GaNaR                   +           +      =[P\_]\_NaRQ and D_V[PV]NY DYNPR     .                   .
      +    I'G' ;\cR_[ZR[a 8RSR[QN[a       -     8VcR_`Vaf                                                                                                        \S 6b`V[R`` =[ 5[\aUR_ GaNaR
                                               (Indicate Citizenship of Parties in Item III)
                                                                                                    7VaVgR[ \_ GbOWRPa \S N                     ,          ,      :\_RVT[ BNaV\[                       /                   /
                                                                                                    :\_RVT[ 7\b[a_f

IV.          NATURE OF SUIT               (Place an “X” in One Box Only)
          CONTRACT                                                   TORTS                                    FORFEITURE/PENALTY                            BANKRUPTCY                             OTHER STATUTES
   **) =[`b_N[PR                         PERSONAL INJURY                     PERSONAL INJURY                  /+. 8_bT FRYNaRQ GRVgb_R \S              -++ 5]]RNY +1 IG7 h *.1                  ,0. :NY`R 7YNVZ` 5Pa
   *+) AN_V[R                                                                                                     D_\]R_af +* IG7 h 11*                -+, KVaUQ_NdNY +1 IG7                    ,0/ EbV HNZ #,* IG7
                                       ,*) 5V_]YN[R                        ,/. DR_`\[NY =[Wb_f i D_\QbPa
   *,) AVYYR_ 5Pa                                                              @VNOVYVaf                      /2) CaUR_                                    h *.0                                    h ,0+2#N$$
                                       ,*. 5V_]YN[R D_\QbPa @VNOVYVaf
   *-) BRT\aVNOYR =[`a_bZR[a                                               ,/0 <RNYaU 7N_R(                              LABOR                           PROPERTY RIGHTS                        -)) GaNaR FRN]]\_aV\[ZR[a
                                       ,+) 5``NbYa% @VORY " GYN[QR_
   *.) FRP\cR_f \S                                                             DUN_ZNPRbaVPNY DR_`\[NY                                                                                          -*) 5[aVa_b`a
                                       ,,) :RQR_NY 9Z]Y\fR_`l                                                 0*) :NV_ @NO\_ GaN[QN_Q` 5Pa             1+) 7\]f_VTUa`
       CcR_]NfZR[a CS                                                          =[Wb_f D_\QbPa @VNOVYVaf                                                                                         -,) 6N[X` N[Q 6N[XV[T
                                           @VNOVYVaf                                                          0+) @NO\_(AN[NTRZR[a                     1,) DNaR[a
       JRaR_N[l` 6R[RSVa`                                                  ,/1 5`OR`a\` DR_`\[NY =[Wb_f                                                                                         -.) 7\ZZR_PR
                                       ,-) AN_V[R                                                                 FRYNaV\[`                            1,. DNaR[an5OO_RcVNaRQ BRd
   *.* ARQVPN_R 5Pa                                                            D_\QbPa @VNOVYVaf
                                       ,-. AN_V[R D_\QbPa @VNOVYVaf                                           0-) FNVYdNf @NO\_ 5Pa                        8_bT 5]]YVPNaV\[                     -/) 8R]\_aNaV\[
   *.+ FRP\cR_f \S 8RSNbYaRQ                                               PERSONAL PROPERTY                                                                                                    -0) FNPXRaRR_ =[SYbR[PRQ "
                                       ,.) A\a\_ JRUVPYR                                                      0.* :NZVYf N[Q ARQVPNY                   1-) H_NQRZN_X
       GabQR[a @\N[` #9ePYbQR`                                             ,0) CaUR_ :_NbQ                                                                                                          7\__b]a C_TN[VgNaV\[`
                                       ,.. A\a\_ JRUVPYR D_\QbPa                                                  @RNcR 5Pa                            880 Defend Trade Secrets
       JRaR_N[`$                                                           ,0* H_baU V[ @R[QV[T
                                           @VNOVYVaf                                                          02) CaUR_ @NO\_ @VaVTNaV\[                   Act of 2016                          -1) 7\[`bZR_ 7_RQVa
   *., FRP\cR_f \S                                                         ,1) CaUR_ DR_`\[NY D_\]R_af
                                       ,/) CaUR_ DR_`\[NY =[Wb_f                                              02* 9Z]Y\fRR FRaV_RZR[a                                                           -1. HRYR]U\[R 7\[`bZR_
       CcR_]NfZR[a                                                                                                                                      SOCIAL SECURITY
                                                                               8NZNTR                             =[P\ZR GRPb_Vaf 5Pa                                                               D_\aRPaV\[ 5Pa
    \S JRaR_N[l` 6R[RSVa`              ,/+ DR_`\[NY =[Wb_f &ARQVPNY                                                                                    1/* <=5 #*,2.SS$
                                           ANY]_NPaVPR                     ,1. D_\]R_af 8NZNTR D_\QbPa                                                                                          -2) 7NOYR(GNa HJ
   */) Ga\PXU\YQR_`l GbVa`                                                     @VNOVYVaf                            IMMIGRATION                        1/+ 6YNPX @b[T #2+,$                     1.) GRPb_VaVR`(7\ZZ\QVaVR`(
   *2) CaUR_ 7\[a_NPa                                                                                         -/+ BNab_NYVgNaV\[                       1/, 8=K7(8=KK #-).#T$$                       9ePUN[TR
                                            CIVIL RIGHTS                   PRISONER PETITIONS
   *2. 7\[a_NPa D_\QbPa @VNOVYVaf                                                                                 5]]YVPNaV\[                          1/- GG=8 HVaYR LJ=
                                       --) CaUR_ 7VcVY FVTUa`                                                                                                                                   12) CaUR_ GaNaba\_f 5PaV\[`
                                                                              HABEAS CORPUS                   -/. CaUR_ =ZZVT_NaV\[
   *2/ :_N[PUV`R                                                                                                                                       1/. FG= #-).#T$$                         12* 5T_VPbYab_NY 5Pa`
                                       --* J\aV[T                          -/, 5YVR[ 8RaNV[RR                     5PaV\[`
          REAL PROPERTY                --+ 9Z]Y\fZR[a                                                                                                   FEDERAL TAX SUITS                       12, 9[cV_\[ZR[aNY ANaaR_`
                                                                           .*) A\aV\[` a\ JNPNaR
   +*) @N[Q 7\[QRZ[NaV\[               --, <\b`V[T(                            GR[aR[PR                                                                10) HNeR` #I'G' DYNV[aVSS \_             12. :_RRQ\Z \S =[S\_ZNaV\[
                                           5PP\ZZ\QNaV\[`                                                                                                  8RSR[QN[a$                               5Pa
   ++) :\_RPY\`b_R                                                         .,) ;R[R_NY
                                       --. 5ZR_' d(8V`NOVYVaVR`i                                                                                       10* =FGiHUV_Q DN_af +/ IG7               12/ 5_OVa_NaV\[
   +,) FR[a @RN`R " 9WRPaZR[a                                              .,. 8RNaU DR[NYaf
                                           9Z]Y\fZR[a                                                                                                       h 0/)2                              122 5QZV[V`a_NaVcR D_\PRQb_R
   +-) H\_a` a\ @N[Q                                                                OTHER
                                       --/ 5ZR_' d(8V`NOVYVaVR`iCaUR_                                                                                                                               5Pa(FRcVRd \_ 5]]RNY \S
   +-. H\_a D_\QbPa @VNOVYVaf                                              .-) AN[QNZb` " CaUR_                                                                                                     5TR[Pf 8RPV`V\[
   +2) 5YY CaUR_ FRNY D_\]R_af         --1 9QbPNaV\[
                                                                           ..) 7VcVY FVTUa`                                                                                                     2.) 7\[`aVabaV\[NYVaf \S GaNaR
                                                                           ... D_V`\[ 7\[QVaV\[                                                                                                     GaNabaR`
                                                                           ./) 7VcVY 8RaNV[RRi
                                                                               7\[QVaV\[` \S
                                                                               7\[SV[RZR[a

V.           ORIGIN (Place an “X” in One Box Only)
      *   C_VTV[NY                +    FRZ\cRQ S_\Z              ,      FRZN[QRQ S_\Z           -   FRV[`aNaRQ \_           . H_N[`SR__RQ S_\Z                      /    AbYaVQV`a_VPa              1 AbYaVQV`a_VPa
          D_\PRRQV[T                   GaNaR 7\b_a                      5]]RYYNaR 7\b_a             FR\]R[RQ                  5[\aUR_ 8V`a_VPa (specify)                 @VaVTNaV\[iH_N[`SR_          @VaVTNaV\[i8V_RPa :VYR


VI.          CAUSE OF           7VaR aUR I'G' 7VcVY GaNabaR b[QR_ dUVPU f\b N_R SVYV[T (Do not cite jurisdictional statutes unless diversity)3
                                 28 U.S.C. §§ 1332, 1441, 1446, and 1453
             ACTION
                                6_VRS QR`P_V]aV\[ \S PNb`R3
                                 Plaintiff's Compl. allegations include: age discrimination and failure to prevent discrimination, as well as unfair business practices
VII.         REQUESTED IN                  7<97? =: H<=G =G 5 CLASS ACTION                          DEMAND $                                             7<97? M9G \[Yf VS QRZN[QRQ V[ P\Z]YNV[a3
             COMPLAINT:                    IB89F FI@9 +,% :RQ' F' 7Vc' D'                                                                                JURY DEMAND:             MR`       B\

VIII. RELATED CASE(S),                                   >I8;9                                                        8C7?9H BIA69F
      IF ANY (See instructions):
IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                            SAN JOSE                                EUREKA-MCKINLEYVILLE


DATE 01/18/2022                                          SIGNATURE OF ATTORNEY OF RECORD                                                    /s/ Brian D. Berry
